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                       UNITED STATES FEDERAL DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GAIL KASPER TELEVISION LLC,                           :      Case No. 2:21-cv-03379-CFK
GAIL KASPRZAK a/k/a GAIL KASPER,                      :
                                                      :
                              Plaintiffs,             :
                                                      :
               v.                                     :
                                                      :
                                                      :
CELEBRITY BOXING ENTERTAINMENT, LLC                   :
5029 South Convent Lane, Unit D                       :
Philadelphia, PA 19114                                :
                                                      :
                              Defendant.              :


   STIPULATION FOR DISMISSAL OF THE ENTIRE ACTION WITH PREJUDICE

       Plaintiffs Gail Kasper Television LLC and Gail Kasprzak a/k/a Gail Kasper (“Plaintiffs”),

and Defendant Celebrity Boxing Entertainment, LLC (“Defendant”), being all parties who have

appeared, and by and through their respective undersigned counsel, hereby stipulate pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii) that this action is dismissed with prejudice in its

entirety, with each party bearing its own costs and fees, and waiving all rights of appeal.

                                              FOX ROTHSCHILD LLP

                                                     /s/ Michael Eidel
                                              By: _____________________________
                                                     Michael Eidel, Esquire
                                                     Attorney for Plaintiffs,
                                                     Gail Kasper Television LLC, Gail Kasprzak
                                                     a/k/a Gail Kasper


Dated: February 17, 2022




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                                   BOCHETTO & LENTZ, P.C.

                                          /s/ Kiersty DeGroote
                                   By: _____________________________
                                          George Bochetto, Esq.
                                          Kiersty DeGroote, Esq.
                                          Attorney for Defendant Celebrity Boxing
                                          Entertainment, LLC

Dated: February 17, 2022



APPROVED BY THE COURT on __________________, 2022:


____________________________________________________
CLERK OR UNITED STATES DISTRICT COURT JUDGE




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2022, a true and correct copy of the foregoing

Stipulation for Dismissal of Action was served through the Court’s electronic filing system

providing notice and a copy to all counsel of record.

                                                        /s/ Michael Eidel
